                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                    Plaintiff,                    )
                                                  )
        v.                                        )       Criminal Action No.
                                                  )       10-00073-01-CR-W-NKL
GERLARMO CAMMISANO,                               )
                                                  )
                    Defendant.                    )

                            REPORT AND RECOMMENDATION
                         TO ACCEPT DEFENDANT’S GUILTY PLEA

         On April 28, 2010, I held a change-of-plea hearing after this case was referred to me by

United States District Judge Nanette Laughrey. I find that Defendant’s plea was voluntary and

therefore recommend that it be accepted.

                                        I. BACKGROUND

         On March 9, 2010, an indictment was returned, charging Defendant with, inter alia, one count

of conducting an illegal gambling business, in violation of 18 U.S.C. §§ 1955 and 2. A change-of-

plea hearing was held on April 28, 2010. Defendant was present, represented by retained counsel

Robin Fowler.      The government was represented by Assistant United States Attorney Jess

Michaelsen. The proceedings were recorded and a transcript of the hearing was filed on April 30,

2010.

                                 II. AUTHORITY OF THE COURT

         The authority of federal magistrate judges to conduct proceedings is created and defined by

the Magistrates Act, 28 U.S.C. § 636. Besides certain enumerated duties, the Act provides that a

“magistrate may be assigned such additional duties as are not inconsistent with the Constitution and




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the laws of the United States.” 28 U.S.C. § 636(b)(3).

       The Eighth Circuit, following the reasoning of several other circuits, has held that magistrate

judges may preside over allocutions and pleas in felony cases, so long as certain procedural

safeguards are met. United States v. Torres, 258 F.3d 791, 795-96 (8th Cir. 2001); see also United

States v. Dees, 125 F.3d 261 (5th Cir. 1997), United States v. Williams, 23 F.3d 629 (2d Cir. 1994).

The reasoning applied by the appellate courts relies upon previous opinions by the United States

Supreme Court that conducting jury voir dire falls within a magistrate judge’s “additional duties”

when the defendant has consented. See Torres, 258 F.3d at 795 (citing Peretz v. United States, 501

U.S. 923 (1991); Gomez v. United States, 490 U.S. 858 (1989)).

       In Peretz, the Supreme Court held that when a defendant consents to a magistrate judge’s

involvement in voir dire, he waives any objection based on his right to have an Article III judge hear

his felony case. 501 U.S. at 936. Moreover, the availability of de novo review by a district judge

preserves the structural guarantees of Article III. Torres, 258 F.3d at 795. Applying the Peretz

holding and adopting the reasoning of Williams, the Eighth Circuit held that the acceptance of guilty

pleas bears adequate relationship to duties already assigned by the Magistrates Act in that “[a]n

allocution is an ordinary garden variety type of ministerial function that magistrate judges commonly

perform on a regular basis.” Id. (quoting Williams, 23 F.3d at 633). Plea allocutions are

substantially similar to evidentiary proceedings explicitly assigned by the Act. Id. at 796 (citing

Dees, 125 F.3d at 265). Even if taking a guilty plea were considered to be of greater importance than

those duties already assigned, the consent of the defendant saves the delegation. Id. “Consent is the

key.” Id. (quoting Williams, 23 F.3d at 633).

       The Torres court also addressed the implications of such a delegation for Article III’s case


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and controversy clause. Id. Because plea proceedings are submitted to the district court for

approval, the court retains ultimate control over the proceedings and is not bound to accept a plea

taken by a magistrate judge. Id. Moreover, the district court’s de novo review of the plea

proceedings contributes to the ministerial nature of the magistrate judge’s role. Id.

        Based on the above, I find that, with the consent of the defendant, the District Court may

properly refer a felony case to a Magistrate Judge for conducting a change-of-plea hearing and

issuing a report and recommendation on whether the plea should be accepted.

                                      III. FINDINGS OF FACT

        1.     The parties consented to the delegation of the change of plea to the magistrate judge

(Tr. at 3).

        2.     On March 9, 2010, an indictment was returned charging Defendant with, inter alia,

one count of conducting an illegal gambling business, in violation of 18 U.S.C. §§ 1955 and 2 (Tr.

at 4-7). The court read the charge against Defendant and Defendant indicated that he understood the

nature of the charge (Tr. at 4-7).

        3.     The statutory penalty for this charge is not more than five years imprisonment, a fine

of up to $250,000, a supervised release term of not more than 3 years, and a $100 mandatory special

assessment fee (Tr. at 7). Defendant was informed of the penalty range and indicated that he

understood (Tr. at 7).

        4.     Defendant was advised of the following:

               a.        That he has a right to a trial by jury of at least 12 individuals and that

        their verdict must be unanimous (Tr. at 8);

               b.        That he has the right to assistance of counsel throughout the trial (Tr.


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       at 8);

                  c.     That Defendant is presumed innocent, and the government has the

       burden of coming forward to prove Defendant’s guilt beyond a reasonable doubt (Tr.

       at 8-9);

                  d.     That Defendant’s attorney would have the opportunity to cross-

       examine the government’s witnesses (Tr. at 8);

                  e.     That Defendant has the right to testify but does not have to, and that

       the jury could not make an adverse inference from the fact that Defendant may not

       testify at trial (Tr. at 9);

                  f.     That Defendant has the right to subpoena witnesses to testify on his

       behalf (Tr. at 9); and

                  g.     That Defendant has the right to appeal any conviction to the Eighth Circuit

       Court of Appeals (Tr. at 10).

       5.         Defendant was informed and understood that by pleading guilty, he was giving up all

of the rights described above (Tr. at 10).

       6.         Defendant was informed that during the change-of-plea proceeding, he would be

placed under oath and questioned by counsel and the judge (Tr. at 10). Defendant was further

informed that he must answer questions truthfully while under oath (Tr. at 10). Defendant stated

that he understood (Tr. at 10).

       7.         Government counsel stated that if this case were to be tried, the government’s

evidence would be that between March 1, 2006 and March 31, 2009, Defendant (also known as

“Jerry Cammisano” and “Rancher”) conducted an illegal sports bookmaking business that was


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operated in the Kansas City, Missouri, metropolitan area and elsewhere (Tr. at 12). Defendant was

the organizer or leader of this particular illegal sports bookmaking business and oversaw the

bookmaker agents involved in the business (Tr. at 12).

        As part of the business, the bookmakers provided their bettors with the 1-800 toll-free

number, 1-800-335-9003 (“bettor number”), as well as the website best24b.com (Tr. at 12). The

bookmakers also provided their bettors with an account number and a password to use in order to

place wagers on sporting events; they could call the “bettor number” or access the website to place

wagers (Tr. at 12). The bettors could also use their account number to access their wagering history

or obtain other account information (Tr. at 12). The bookmakers used a separate 1-800 number, 1-

800-330-5667 (“bookmaker number”), as well as the website best24b.com to track their bettors’

activities and account balances (Tr. at 12). The bookmakers had their own user name and password

that they used in order to access their bettor’s information and make changes to the bettor’s accounts,

if necessary (Tr. at 12-13).

        Both toll free 1-800 numbers were routed through Phoenix International Teleport Satellite

Service, Inc. to Elite Sports, which is located in Costa Rica (Tr. at 13). Elite Sports acted as a virtual

wire room for the illegal sports bookmaking operation, taking wagers from the bettors and keeping

electronic records of the bettorS’ activities (Tr. at 13). Results were located on Elite Sports’

computer servers in Costa Rica (Tr. at 13). Elite Sports did not have in interest in the outcome of

the wagers, but instead charged the illegal sports bookmaking business a price per head for managing

each bettor’s account (Tr. at 13). Defendant collected this fee from the bookmakers and then the

local bookmakers would pay out or collect cash in person from their bettors on a weekly basis (Tr.

at 13). Defendant was also responsible for managing the following six accounts: the Brad account;


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Dr. Bob; the Dud Light account; the George account, the Marty; and the Sandy account (Tr. at 13).

       The bettors in this illegal sports bookmaking business wagered over $3,584,895.79 during

the course of the business (Tr. at 13). Defendant would pay out to the bookmakers a percentage of

the business’ winnings at the end of each sporting season (Tr. at 13-14).

       8.      Defense counsel stated that he had reviewed the government’s file and felt

comfortable recommending his client plead guilty (Tr. at 11, 14).

       9.      Defendant was placed under oath (Tr. at 11). Defendant stated that between the dates

of March 1, 2006 and April 1, 2009, he knew and dealt with individuals using the code names “Dud

Light,” “Dr. Bob,” “Sandy,” “Brad,” and “George” (Tr. at 16). During this time, Defendant

knowingly conducted, financed, managed, supervised, directed and owned all or part of an illegal

gambling business (Tr. at 16). Such business involved illegal bookmaking in violation of the laws

of Missouri (Tr. at 16). The business also involved at least five or more persons who conducted,

financed, managed, supervised, directed and owned all or part of the gambling business (Tr. at 16).

Operation of the business lasted a period in excess of thirty days and gross revenues for at least one

day was $2,000 (Tr. at 16-17).

               In his own words, Defendant stated he organized and operated the gambling business

as described in the Indictment (Tr. at 17).

       10.     Defendant had reviewed the plea agreement with his attorney and stated he

understood the terms of the agreement (Tr. at 18). I also reviewed the terms of the plea agreement

with Defendant (Tr. at 18-22, 24-25). As part of the agreement, the Government agreed to dismiss

Counts Two through Seven against Defendant at the time of sentencing (Tr. at 21).

       11.     All promises made by the government were contained within the plea agreement (Tr.


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at 22-23). No one had made any threats or any other promises in order to get Defendant to plead

guilty (Tr. at 23).

        12.     Defendant was satisfied with Mr. Fowler’s performance (Tr. at 23). There is nothing

Defendant asked Mr. Fowler to do that Mr. Fowler did not do (Tr. at 23). Likewise, there is nothing

Mr. Fowler has done that Defendant did not want him to do (Tr. at 23).

        13.     Defendant is 56 years old (Tr. at 34). He received a high school education (Tr. at 23).

Defendant has no physical or mental health concerns that would prevent him from entering an

intelligent and voluntary plea of guilty (Tr. at 23). Defendant was not under the influence of drugs

or anything else that would cloud his ability to intelligently waive his right to a jury trial (Tr. at 23-

24).

        14.     Defendant tendered a plea of guilty to the crime charged in Count I of the indictment

(Tr. at 25).

        15.     The parties waived the fourteen-day objection period to the Report and

Recommendation (Tr. at 25-26).

                        V. ELEMENTS OF THE CHARGED OFFENSE

        The elements necessary to sustain a conviction for conducting an illegal gambling business

include: (1) the gambling business violates the law of the state in which it is conducted; (2) the

gambling business involves five or more persons who conduct, manage, supervise, or direct such

business; and (3) the gambling business has been in operation for more than thirty days or has a gross

revenue that exceeds two thousand dollars in any one day. U.S. v. Sutera, 933 F.2d 641, 645 (8th

Cir. 1991).




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                                       V. CONCLUSION

       Based on the above, I make the following conclusions:

       1.      The district court may lawfully refer this case to a magistrate judge for issuance of

a report and recommendation on whether Defendant’s guilty plea should be accepted.

       2.      Defendant has consented to having his plea taken by a magistrate judge.

       3.      Defendant knowingly and voluntarily pleaded guilty to conduct establishing every

element of the crime charged in Count I of this indictment.

       Therefore, it is

       RECOMMENDED that the court, after making an independent review of the record and the

applicable law, enter an order accepting Defendant’s guilty plea and adjudging Defendant guilty of

the offense charged.


                                                        /s/ Robert E. Larsen
                                                     ROBERT E. LARSEN
                                                     United States Magistrate Judge

Kansas City, Missouri
April 30, 2009




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